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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

United States of America,

                      Plaintiff,
                                                    SENTENCING MEMORANDUM
                                                    Criminal No. 06-10(2) ADM/JJG
Lee D. Stagni,

                  Defendant.
______________________________________________________________________________

Timothy C. Rank, Esq. and Michael L. Cheever, Esq., Assistant United States Attorneys,
Minneapolis, MN, on behalf of Plaintiff.

Donald M. Lewis, Esq. and Cynthia P. Arends, Esq., Halleland Lewis Nilan & Johnson P.A.,
Minneapolis, MN, on behalf of Defendant.
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                                     I. INTRODUCTION

       On September 21, 2006, a jury found Defendant Lee D. Stagni (“Stagni”) guilty of five

counts of aiding and abetting tax evasion in violation of 26 U.S.C. § 7201 and 18 U.S.C. § 2, and

one count of conspiracy to defraud the United States in violation of 18 U.S.C. § 371. On April

11, 2007, this Court sentenced Stagni to a term of 43 months of incarceration. Other aspects of

Stagni’s sentence were stated on the record, and are recorded in the Judgment and Commitment.

This Sentencing Memorandum supplements the reasons the Court provided at the sentencing

hearing regarding two issues. First, this Memorandum sets forth the Court’s calculation of the

tax loss attributable to Stagni. Second, this Memorandum further explains the Court’s reasons

for the sentence imposed.

                                        II. TAX LOSS

       At the sentencing hearing, the Court determined that the applicable United States
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Sentencing Guidelines (“Guidelines”)1 calculations are as follows:

       Base Offense Level:                              24
       Sophisticated Means Enhancement:                 +2
       Adjustment for Role in the Offense:              +3
       Adjusted Offense Level:                          29
       Criminal History Points:                         0 (Category I)
       Imprisonment Range:                              87 to 108 months
       Supervised Release:                              2 to 3 years
       Fine Range:                                      $15,000 to $150,000
       Special Assessment:                              $600

       In reaching a base offense level of 24, the Court determined that Stagni’s offenses

resulted in a total tax loss of $3,211,603. This total is the sum of the tax loss amounts in

paragraphs 28, 31, 32, 33, and 34 of the Probation Office’s Presentence Investigation (“PSI”).

Under the tax table in Guidelines § 2T4.1, a tax loss greater than $2,500,000 but less than

$7,000,000 results in a base offense level of 24.

                      III. REASONS FOR THE SENTENCE IMPOSED

       Unique circumstances in this case warrant both a downward departure under Guideline §

5H1.6 and a downward variance based on the factors in 18 U.S.C. § 3553(a). Stagni and his wife

Kathy have an 18 year old daughter, Melissa, who has Propionic Acidemia (“PA”), a rare

metabolic disorder that occurs in approximately 1 out of 100,000 live births in the United States.

People with PA can not process certain proteins and lipids properly, resulting in an accumulation

of harmful acids and toxins that can damage organs and delay development. Shortly after she

was born, before doctors determined she had PA, Melissa experienced high ammonia levels in

her blood, which almost killed her, and resulted in irreversible brain damage; Melissa has an IQ


       1
         The Guidelines Manual incorporating Guidelines amendments effective November 1,
2005 is used in order to avoid violating the ex post facto clause of the United States Constitution.
See Guidelines § 1B1.11.

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of 58.

         No cure exists for PA, which must be managed by strict dietary control specific to the

symptoms of each affected individual. Throughout Melissa’s life, Defendant has taken primary

responsibility for preparing and adjusting daily a special formula consisting of prescription

powder, whole milk, baby food, and yogurt, which is administered to Melissa through a feeding

tube inserted through her nose, down her throat, and into her stomach. Stagni carefully monitors

Melissa’s diet as necessary so that Melissa does not experience elevated levels of ammonia in

her blood, which can require hospitalization. Although both Stagni and his wife are involved in

Melissa’s care, the calculation aspects have been exclusively Lee Stagni’s responsibility. One of

Melissa’s doctors reports that her survival to the age of eighteen is primarily due to the efforts of

her parents. See 4th Lewis Decl. [Docket No. 240] Ex. N.

         Melissa’s PA and mental retardation also require that Stagni and his wife assist Melissa

with routine daily functions such as hygiene. Stagni and his wife work together with a

physician, metabolic specialist, nutritionists, and therapists to care for Melissa, who has also

been diagnosed with cardiomyopathy, a disease in which inflamed muscle impairs the

functioning of the heart. Neither Stagni nor his wife has family in Minnesota who can assist

with Melissa’s daily care. Stagni’s caretaking responsibilities for Melissa far preceded his

criminal conduct in this case and are well documented in the many letters received from those

involved with Melissa’s PA, including the medical professionals. See 4th Lewis Decl. Exs. B-

EE.

         Based on these facts, the Court finds that a downward departure is appropriate because of

Stagni’s family responsibilities—in particular his caretaking of Melissa. In making a downward


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departure because of family responsibilities, a court must consider: “the seriousness of the

offense; the involvement in the offense, if any, of members of the defendant’s family; and the

danger, if any, to members of the defendant’s family as a result of the offense.” Guidelines §

5H1.6 cmt. Stagni’s tax crimes are serious offenses that affect the public treasury. However,

Stagni’s tax crimes did not involve any physical harm to others. Stagni’s family did not

participate in the crimes, and the crimes did not cause danger to members of his family.

       The Court finds a substantial downward departure based on loss of caretaking is

appropriate because: (1) a sentence within the 87 to 108 months Guidelines range “will cause a

substantial, direct, and specific loss of essential caretaking” for Melissa; (2) the loss of

caretaking in this case “substantially exceeds” the harm ordinarily caused by the incarceration of

a similarly situated defendant; (3) given the rarity of PA and the fact that Stagni and his wife

have the most knowledge of Melissa’s unique needs, Stagni’s caretaking of Melissa is

“irreplaceable to the family;” and (4) a departure “will effectively address the loss of

caretaking.” See id.

       In addition to caring for the special needs of his daughter, for the past ten years Stagni

and his wife have led the Organic Acidemia Association (“OAA”), a non-profit organization that

provides support and information to caregivers of children with organic acidemia diseases.2

Time that Stagni serves in prison will substantially reduce the activities and services provided by

the OAA.

       In addition to a departure under the Guidelines, the Court finds that a variance from the

Guidelines range is appropriate under the factors set forth in 18 U.S.C. § 3553(a). Under this


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           Propionic acidemia is an organic acidemia disease.

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section, a court must impose a sentence “sufficient, but not greater than necessary” to comply

with the following purposes:

       (A) to reflect the seriousness of the offense, to promote respect for the law, and to
provide
       just punishment for the offense;
       (B) to afford adequate deterrence to criminal conduct;
       (C) to protect the public from further crimes of the defendant; and
       (D) to provide the defendant with needed educational or vocational training, medical
care,
       or other correctional treatment in the most effective manner.

18 U.S.C. § 3553(a). Additionally, a court must consider: the nature and circumstances of the

offense and the history and characteristics of the defendant; the kinds of sentences available; the

need to avoid unwarranted sentence disparities among defendants with similar records who have

been found guilty of similar conduct, and the need to provide restitution to any victims of the

offense. Id.

       The Court has considered these factors and has determined that a variance from the

Guidelines range is warranted. Stagni has no previous criminal history. Stagni’s caretaking of

Melissa and his involvement in the OAA are discussed above. Additionally, Stagni has

volunteered to coach Melissa and others in Special Olympics sports and adapted sports such as

basketball, bowling, golf, gymnastics, soccer, and softball. See 4th Lewis Decl. Exs. H, EE.

Stagni has mentored family members, friends, and other individuals regarding various topics

such as business, parenting a disabled youth, and life skills. See id. Exs. B, I, O, X. Stagni and

his wife are active members in their church and school community. In short, Stagni’s history

and characteristics support a downward variance from the Guidelines range of 87 to 108 months.

       Further, the Court is mindful that Stagni’s Co-Defendant, Robert B. Beale (“Beale”), if

convicted, will have a Guidelines range very similar to Stagni’s. Based on the evidence the

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Court heard at Stagni’s trial, Defendant Beale, now a fugitive, was the primary perpetrator in the

scheme. There was no evidence adduced at trial that but for Beale’s conduct, Stagni would have

been involved in committing tax crimes.

       After considering the relevant Guidelines and statutory factors, the Court finds that

Stagni’s 43 month sentence accomplishes the statutory goals and takes into account Stagni’s

unique circumstances.

                                                            BY THE COURT:

                                                            s/Ann D. Montgomery
                                                            _________________________
                                                            ANN D. MONTGOMERY
                                                            U.S. DISTRICT JUDGE
Dated: April 20, 2007




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